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Fill in this information to identify your case and this filing:


Debtor 1          Clifton            D.                   Briggs
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            Regina            A.                   Briggs
                    ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Eastern District of Arkansas
United States Bankruptcy Court for the: ______________________________________

Case number         ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                     Single-family home                           the amount of any secured claims on Schedule D:
            7937 Hwy. 67 North
      1.1. _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          77,000.00
                                                                                                                   $________________         77,000.00
                                                                                                                                            $_______________
                                                                     Investment property
              Biggers        AR              72413
             _________________________________________                                                             Describe the nature of your ownership
             City                    State    ZIP Code
                                                                     Timeshare
                                                                                                                   interest (such as fee simple, tenancy by
                                                                 
                                                                 X           See Attachment 1
                                                                      Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Fee Simple Ownership
                                                                                                                   __________________________________________
              Randolph                                           Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 
                                                                 X Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
            7937 Hwy. 67 North
      1.2. ________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                           1,450,000.00
                                                                                                                   $________________          1,450,000.00
                                                                                                                                            $_________________
                                                                    Investment property
             Biggers         AR             72413
             ________________________________________                                                              Describe the nature of your ownership
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   interest (such as fee simple, tenancy by
                                                                
                                                                X          See Attachment 2
                                                                     Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.     Fee Simple Ownership
                                                                                                                   __________________________________________

                                                                Debtor 1 only
             Randolph
             ________________________________________
             County                                             Debtor 2 only
                                                                
                                                                X Debtor 1 and Debtor 2 only
                                                                                                                    Check if this is community property
                                                                At least one of the debtors and another              (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


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Debtor 1       Clifton      D.               Briggs
               _______________________________________________________                                 Case number (if known)_____________________________________
               First Name       Middle Name          Last Name




                                                                 What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
         Ash & Valley Chapel Road & Oak
    1.3. ________________________________________                                                                         Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description         Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           and Valley Chapel Road
           ________________________________________                 Manufactured or mobile home
                                                                                                                            10,000.00
                                                                                                                          $________________           10,000.00
                                                                                                                                                    $_________________
                                                                    Land
            See Attachment AR              72460
           ________________________________________
                                                                    Investment property
           City                    State    ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                 
                                                                 X         See Attachment 3
                                                                     Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         Fee Simple Ownership
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            Randolph
           ________________________________________              Debtor 1 only
           County
                                                                 Debtor 2 only
                                                                 
                                                                 X
                                                                   Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                 At least one of the debtors and another

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
                                                                                      See Attachment 4: Additional Real Property
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  1,562,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes




   3.1.    Make:                      Mercury
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
           Model:                     Montego
                                      ______________
                                                                 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                      1976
                                                                 Debtor 2 only
           Year:                      ____________                                                                        Current value of the      Current value of the
                                                                 
                                                                 X
                                                                   Debtor 1 and Debtor 2 only
                                See 5
           Approximate mileage: ____________                                                                              entire property?          portion you own?
                                                                 At least one of the debtors and another
           Other information:
                                                                  Check if this is community property (see                300.00
                                                                                                                          $________________          300.00
                                                                                                                                                    $________________
                                                                     instructions)



   If you own or have more than one, describe here:

   3.2.    Make:                       Cadillac
                                      ______________             Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                                                                                                                          the amount of any secured claims on Schedule D:
           Model:                      Deville
                                      ______________
                                                                 Debtor 1 only                                          Creditors Who Have Claims Secured by Property.
                                       1990                      Debtor 2 only
           Year:                      ____________                                                                        Current value of the      Current value of the
                                                                 
                                                                 X Debtor 1 and Debtor 2 only
                                                                                                                          entire property?          portion you own?
                                 See 6
           Approximate mileage: ____________                     At least one of the debtors and another
           Other information:
                                                                                                                           200.00
                                                                                                                          $________________           200.00
                                                                                                                                                    $________________
           Non-running                                            Check if this is community property (see
                                                                     instructions)




Official Form 106A/B                                             Schedule A/B: Property                                                                    page 2
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Debtor 1           Clifton      D.               Briggs
                   _______________________________________________________                                                       Case number (if known)_____________________________________
                   First Name         Middle Name                Last Name




            Make:                            Cadillac
                                             ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                                                         the amount of any secured claims on Schedule D:
            Model:                           Eldorado
                                             ______________
                                                                              Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:                            1997
                                             ____________                                                                                                Current value of the             Current value of the
                                                                              
                                                                              X
                                                                                Debtor 1 and Debtor 2 only
                                 See 7
            Approximate mileage: ____________                                                                                                            entire property?                 portion you own?
                                                                              At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                  650.00
                                                                                                                                                         $________________                 650.00
                                                                                                                                                                                          $________________
                                                                                   instructions)


            Make:                            Dodge
                                             ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                                                         the amount of any secured claims on Schedule D:
            Model:                           Truck
                                             ______________
                                                                              
                                                                              X
                                                                                Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.

                                 2004
                                                                              Debtor 2 only
            Year:                ____________                                                                                                            Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only
            Approximate mileage: 80,000
                                 ____________
                                                                                                                                                         entire property?                 portion you own?
                                                                              At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                   1,270.00
                                                                                                                                                         $________________                 1,270.00
                                                                                                                                                                                          $________________
            Vehicle repossessed but not
                                                                                   instructions)
            sold




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   No
   
   X Yes




            Make:       Homemade trailer
                        ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                                                         the amount of any secured claims on Schedule D:
            Model: ____________________                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.

                        Unknown
                                                                              Debtor 2 only
            Year:       ____________
                                                                              
                                                                              X
                                                                                Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?
            2- homemade trailers
                                                                               Check if this is community property (see                                  500.00
                                                                                                                                                         $________________                 500.00
                                                                                                                                                                                          $________________
                                                                                  instructions)



   If you own or have more than one, list here:

   4.2.     Make:       Glen
                        ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
                                                                                                                                                         the amount of any secured claims on Schedule D:
                   18'
            Model: ____________________                                       Debtor 1 only                                                            Creditors Who Have Claims Secured by Property.
                        1990
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                              X Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
            Old Jon boat with trailer and
                                                                                                                                                          100.00
                                                                                                                                                         $________________                 100.00
                                                                                                                                                                                          $________________
            motor                                                              Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       3,020.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
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Debtor 1            Clifton      D.               Briggs
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X
        Yes. Describe. ........          Household goods without liens; Household goods placed in cabins - no liens;                                                                                 7,378.00
                                                                                                                                                                                                    $___________________
                                         Books
7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   X
      No
    Yes. Describe. .........                                                                                                                                                                       $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
   X Yes. Describe. ..........380 Smith & Wesson pistol
                                                                                                                                                                                                     50.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   
   X    No
       Yes. Describe. ..........                                                                                                                                                                   $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........Wedding                   ring                                                                                                                                       100.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X
        No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       7,528.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
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Debtor 1             Clifton     D.               Briggs
                    _______________________________________________________                                                                                    Case number (if known)_____________________________________
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     No

 X     Yes .....................................................................................................................................................................    Cash: .......................     20.00
                                                                                                                                                                                                                      $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              Bank of America - Checking account ending in 4758
                                                                                                  _________________________________________________________                                                            75.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.4. Savings account:                               _________________________________________________________                                                           $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
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Debtor 1            Clifton     D.               Briggs
                   _______________________________________________________                                Case number (if known)_____________________________________
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No

 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________               $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________
                                         ______________________________________________________________________________________
                                                                                                                                              $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________        $__________________

                                         Pension plan:             ___________________________________________________________________        $__________________

                                         IRA:                      ___________________________________________________________________        $__________________

                                         Retirement account:       ___________________________________________________________________        $__________________

                                         Keogh:                    ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________

                                         Additional account:       ___________________________________________________________________        $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

      No
   
   X   Yes ...........................                         Institution name or individual:

                                         Electric:             Clay County Electric
                                                               ______________________________________________________________________          350.00
                                                                                                                                              $___________________
                                         Gas:                  ______________________________________________________________________         $___________________
                                         Heating oil:          ______________________________________________________________________         $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                              $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                              $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                              $___________________
                                         Water:                Clay County Regional Water
                                                               ______________________________________________________________________          450.00
                                                                                                                                              $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                              $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                              $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________             $__________________
                                         _______________________________________________________________________________________              $__________________
                                         _______________________________________________________________________________________              $__________________


Official Form 106A/B                                                        Schedule A/B: Property                                                        page 6
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Debtor 1           Clifton      D.               Briggs
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X
       No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   X   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                   $________________
                                                                                                                             Maintenance:               $________________
                                                                                                                             Support:                   $________________
                                                                                                                             Divorce settlement:        $________________
                                                                                                                             Property settlement:       $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                        Schedule A/B: Property                                                                page 7
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Debtor 1            Clifton      D.               Briggs
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
       No
   
   X    Yes. Give specific information. ............. Debtor beneficiary under Will of Roger Ruddock but no funds to probate estate.
                                                      See Attachment 8                                                                                                                                0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
   
   X    Yes. Describe each claim. ..................... Potential breach of contract claim on remodeling work against James Brown -
                                                        See Attachment 9                                                                                                                              0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X
        No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       895.00
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X
        No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X
        No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
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Debtor 1             Clifton     D.               Briggs
                    _______________________________________________________                                                                   Case number (if known)_____________________________________
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X
                      No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X
     No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
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 Debtor 1               Clifton     D.               Briggs
                       _______________________________________________________                                                                        Case number (if known)_____________________________________
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

          No
                                             Riding lawn mower                                                                                                                                                    500.00
                                                                                                                                                                                                                 $________________
     
     X     Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                           500.00
                                                                                                                                                                                                                  $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      1,562,000.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    3,020.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               7,528.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           895.00
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                                500.00
                                                                                                                 + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             11,943.00
                                                                                                                     $________________ Copy personal property total                                              11,943.00
                                                                                                                                                                                                               + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        1,573,943.00
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
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                                   Attachment 1/2
                      Debtor: Clifton D. Briggs             Case No:

Attachment 1: Real Property
         Homestead with 2 lots and Lots G, H, I, J in Second Edition of Current River Beach
         Resort - 1st mortgage Bank of America; 2nd mortgage SBA

Attachment 2: Real Property
         Homestead w 2 lots and Lots A, B, C, D, E, F in Second Edition of Current River
         Beach Resort and Lots 1-10 in First Edition of Current River Beach Resort - 1st
         mortgage with SBA with 2 loans at SBA
Attachment 3: Real Property
         Ravenden Springs
         Ravenden Springs lots 16, 17, 18 and Lots 1 and portions of Lots 2 & 3, with 36 x 24
         utility building - 1st Mortgage with SBA
Attachment 4: Additional Real Property
     Location: 8549 Valley Chapel Road - Land Contract with James Brown, Ravenden Springs
     (Randolph county), AR 72460
     Nature of the Property: Single-family home
     Current Value of the Property: $25,000.00
     Current Value of Debtor’s Ownership Interest: $25,000.00
     Nature of Debtor’s Ownership Interest: Debtors have an equitable interest pursuant to a
     land contract with creditors James Brown
     Parties with an Interest in the Property: Debtor 1 and Debtor 2 Only
     Community Property: no

Attachment 5
         Over 200,000

Attachment 6
         Over 200,000
Attachment 7
         Over 100,000
Attachment 8
     Only property left in estate are 3 vehicles - 1993 Ford Van; 2009 Chrysler Mini Van adn
     2007 Mustang. Possible deficiency claim on home that was mortgaged and under
     non-judicial foreclosure as value less than debt.
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                                   Attachment 2/2
                      Debtor: Clifton D. Briggs            Case No:

Attachment 9
     unknown value; Potential claim for breach of contract against Robert Callaway on remodel
     work
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  Fill in this information to identify your case:

 Debtor 1          Clifton              D.                  Briggs
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2             Regina           A.                   Briggs
                     ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


                                         Eastern  District
                                          __________ District of  Arkansas
 United States Bankruptcy Court for the: _____________________________________________
                                                              of __________

 Case number
  (If known)
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
      You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
     
     X
       You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      11 USC § 522(d)(5)
                                                                                                                                 ____________________________
                             Cash
                             _________________________       20.00
                                                            $________________            
                                                                                         X   20.00
                                                                                           $ ____________
      description:                                                                                                               ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    16
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      11 USC § 522(d)(5)
                                                                                                                                 ____________________________
                             See Attachment 1
                             _________________________       75.00
                                                            $________________            
                                                                                         X   75.00
                                                                                           $ ____________
      description:                                                                                                               ____________________________
      Line from     17.1
                                                                                          100% of fair market value, up to      ____________________________
                    ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      11 USC § 522(d)(5)
                                                                                                                                 ____________________________
                             See Attachment 2
                             _________________________        450.00
                                                            $________________            
                                                                                         X    450.00
                                                                                           $ ____________
      description:                                                                                                               ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    22
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                       3
                                                                                                                                                     page 1 of __
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Debtor 1     Clifton D. Briggs
             _______________________________________________________                          Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             11 USC § 522(d)(5)
                                                                                                                       ____________________________
                          See Attachment 3
                          _________________________      350.00
                                                        $________________         350.00
                                                                               X $ ____________
     description:                                                                                                      ____________________________
     Line from     22
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             11 USC § 522(d)(3)
                                                                                                                       ____________________________
                          See Attachment 4
                          _________________________      1,278.00
                                                        $________________      
                                                                               X   1,278.00
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   6
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             11 USC § 522(d)(3)
                                                                                                                       ____________________________
                          See Attachment 5
                          _________________________      6,000.00
                                                        $________________      
                                                                               X   6,000.00
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from     6
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             11 USC § 522(d)(3)
                                                                                                                       ____________________________
                          Books
                          _________________________      100.00
                                                        $________________      
                                                                               X   100.00
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from     6
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             11 USC § 522(d)(4)
                                                                                                                       ____________________________
                           Wedding ring
                          _________________________       100.00
                                                        $________________         100.00
                                                                               X $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                    12
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             11 USC § 522(d)(3)
                                                                                                                       ____________________________
                          See Attachment 6
                          _________________________      50.00
                                                        $________________         50.00
                                                                               X $ ____________
     description:                                                                                                      ____________________________
     Line from      10
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             11 USC § 522(d)(5)
                                                                                                                       ____________________________
                          See Attachment 7
                          _________________________      300.00
                                                        $________________      
                                                                               X   300.00
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from     3.1
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             11 USC § 522(d)(5)
                                                                                                                       ____________________________
                          See Attachment 8
                          _________________________      200.00
                                                        $________________      
                                                                               X   200.00
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   3.2                                                                                                 ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             11 USC § 522(d)(2)
                                                                                                                       ____________________________
                          See Attachment 9
                          _________________________      650.00
                                                        $________________      
                                                                               X   650.00
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from      3.3
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             11 USC § 522(d)(5)
                                                                                                                       ____________________________
                          See Attachment 10
                          _________________________      500.00
                                                        $________________         500.00
                                                                               X $ ____________
     description:                                                                                                      ____________________________
     Line from     4.1
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                              11 USC § 522(d)(5)
                                                                                                                       ____________________________
                           1990 Glen 18'
                          _________________________      100.00
                                                        $________________      
                                                                               X   100.00
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   4.2                                                                                                 ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             11 USC § 522(d)(5)
                                                                                                                       ____________________________
                          Riding lawn mower
                          _________________________      500.00
                                                        $________________         500.00
                                                                               X $ ____________
     description:                                                                                                      ____________________________
     Line from     53
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                             2 of __
                                                                                                                                         page ___   3
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Debtor 1     Clifton D. Briggs
             _______________________________________________________                          Case number (if known)_____________________________________
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             11 USC § 522(d)(5)
                                                                                                                       ____________________________
                          See Attachment 11
                          _________________________      0.00
                                                        $________________         Unknown
                                                                               X $ ____________
     description:                                                                                                      ____________________________
     Line from     33
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             11 USC § 522(d)(5)
                                                                                                                       ____________________________
                          See Attachment 12
                          _________________________      0.00
                                                        $________________      
                                                                               X   Unknown
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   33
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             11 USC § 522(d)(5)
                                                                                                                       ____________________________
                          See Attachment 13
                          _________________________      0.00
                                                        $________________      
                                                                               X   Unknown
                                                                                 $ ____________
     description:                                                                                                      ____________________________
     Line from     32
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                             3 of __
                                                                                                                                         page ___   3
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                                 Attachment 1/2
                    Debtor: Clifton D. Briggs             Case No:

Attachment 1
        Checking Account with Bank of America - Checking account ending in 4758

Attachment 2
        Water deposit with Clay County Regional Water
Attachment 3
        Electric deposit with Clay County Electric

Attachment 4
        Household goods without liens

Attachment 5
        Household goods placed in cabins - no liens

Attachment 6
        380 Smith & Wesson pistol

Attachment 7
        1976 Mercury Montego with Over 200,000 miles.

Attachment 8
        1990 Cadillac Deville with Over 200,000 miles.

Attachment 9
        1997 Cadillac Eldorado with Over 100,000 miles.

Attachment 10
        Unknown Homemade trailer
Attachment 11
        Potential breach of contract claim on remodeling work against James Brown -
        unknown value

Attachment 12
        Potential claim for breach of contract against Robert Callaway on remodel work
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                                 Attachment 2/2
                    Debtor: Clifton D. Briggs            Case No:

Attachment 13
        Debtor beneficiary under Will of Roger Ruddock but no funds to probate estate. Only
        property left in estate are 3 vehicles - 1993 Ford Van; 2009 Chrysler Mini Van adn
        2007 Mustang. Possible deficiency claim on home that was mortgaged and under
        non-judicial foreclosure as value less than debt.
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Fill in this information to identify your case:

Debtor 1            Clifton D. Briggs
                    __________________________________________________________________
                     First Name                   Middle Name                       Last Name

Debtor 2             Regina A. Briggs
                     ________________________________________________________________
(Spouse, if filing) First Name                    Middle Name                       Last Name


                                        Eastern District of Arkansas
United States Bankruptcy Court for the: ______________________________________

Case number          ___________________________________________
(If known)                                                                                                                                                    Check if this is an
                                                                                                                                                                 amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
              No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       X
               Yes. Fill in all of the information below.


Part 1:            List All Secured Claims
                                                                                                                                Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                         Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                     Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                              value of collateral.   claim                 If any

2.1                                                             Describe the property that secures the claim:                     7,204.59           77,000.00
        Bank of America
        ______________________________________
                                                                                                                                $_________________ $________________ $____________
        Creditor’s Name
                                                            Homestead with 2 lots and Lots G, H, I, J in Second
        P. O. Box 660807
        ______________________________________ See Attachment 1
        Number            Street

                                                                As of the date you file, the claim is: Check all that apply.
        ______________________________________
                                                                    Contingent
        Dallas                TX See
        ______________________________________                      Unliquidated
        City                          State   ZIP Code              Disputed
   Who owes the debt? Check one.                                Nature of lien. Check all that apply.
           Debtor 1 only                                       X
                                                                     An agreement you made (such as mortgage or secured
           Debtor 2 only                                            car loan)
   
   X
            Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                    Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                            7/2000
   Date debt was incurred ____________                                                           8 ___
                                                                Last 4 digits of account number ___ 9 ___
                                                                                                       2 ___
                                                                                                          2
2.2                                                             Describe the property that secures the claim:                    69,014.08           77,000.00
        Bank of Armerica
        ______________________________________
                                                                                                                                $_________________ $________________ $____________
        Creditor’s Name
                                                            Homestead with 2 lots and Lots G, H, I, J in Second
        P.O. Box 660807
        ______________________________________ See Attachment 2
        Number            Street

                                                                As of the date you file, the claim is: Check all that apply.
        ______________________________________
                                                                    Contingent
        Dallas                TX See
        ______________________________________                      Unliquidated
        City                          State   ZIP Code              Disputed
   Who owes the debt? Check one.                                Nature of lien. Check all that apply.
           Debtor 1 only                                       
                                                                X    An agreement you made (such as mortgage or secured
           Debtor 2 only                                            car loan)
   X
            Debtor 1 and Debtor 2 only                              Statutory lien (such as tax lien, mechanic’s lien)
           At least one of the debtors and another                 Judgment lien from a lawsuit
                                                                    Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
                            2008
   Date debt was incurred ____________                                                           0 ___
                                                                Last 4 digits of account number ___ 2 ___
                                                                                                       9 ___
                                                                                                          9
        Add the dollar value of your entries in Column A on this page. Write that number here:                                   76,218.67
                                                                                                                                $_________________


  Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                                  4
                                                                                                                                                                   page 1 of ___
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Debtor 1           Clifton D. Briggs
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                 Additional Page                                                                                          Column A               Column B              Column C
 Part 1:                                                                                                                  Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                                that supports this    portion
                                                                                                                          Do not deduct the
                 by 2.4, and so forth.                                                                                    value of collateral.   claim                 If any
2.3                                                                                                                        5,700.00            1,270.00          4,430.00
       City Motors
       ______________________________________            Describe the property that secures the claim:                    $_________________ $________________ $____________
       Creditor’s Name

       2021 Hwy. 67 S
       ______________________________________           2004 Dodge Truck with 80,000 miles.
       Number            Street

       Sycamore Street
       ______________________________________            As of the date you file, the claim is: Check all that apply.
       Pocahontas            AR 72455
       ______________________________________                 Contingent
       City                   State ZIP Code                  Unliquidated
                                                              Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      
      X
           Debtor 1 only                                  X   An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
          Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit
                                                              Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

                             11/2016
      Date debt was incurred ____________                                                 N ___
                                                         Last 4 digits of account number ___ o ___
                                                                                                n ___
                                                                                                   e
2.4                                                                                                                         19,000.00          25,000.00         19,000.00
        James Brown
       ______________________________________            Describe the property that secures the claim:                    $_________________ $________________ $____________
       Creditor’s Name

        P. O. Box 222
       ______________________________________
                                                        8549 Valley Chapel Road, Ravenden Springs,
       Number            Street                         Arkansas 72460
                                                         As of the date you file, the claim is: Check all that apply.
       ______________________________________
                                                              Contingent
        Ravenden             AR 72459
       ______________________________________                 Unliquidated
       City                          State   ZIP Code
                                                              Disputed
      Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
          Debtor 1 only
                                                              An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
      
      X
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit
                                                         X                                        See Attachment 3
                                                               Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

                             June 2016
      Date debt was incurred ____________                                                 N ___
                                                         Last 4 digits of account number ___ o ___
                                                                                                n ___
                                                                                                   e
2.5                                                                                                                         10,000.00          10,000.00
       U. S. Small Business Administration
       ______________________________________            Describe the property that secures the claim:                    $_________________ $________________ $____________
       Creditor’s Name

       P. O. Box 740192                                 Ravenden Springs lots 16, 17, 18 and Lots 1 and
       ______________________________________
       Number            Street                         portions of Lots 2 & 3, with 36 x 24 utility building
                                                        - 1st Mortgage with SBA
       ______________________________________            As of the date you file, the claim is: Check all that apply.
       Atlanta               GA
       ______________________________________                 Contingent
       City                          State   ZIP Code         Unliquidated
                                                              Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
          Debtor 1 only                                  X
                                                               An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
      
      X
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit
                                                              Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
      Date debt was incurred ____________                                                 6 ___
                                                         Last 4 digits of account number ___ 0 ___
                                                                                                0 ___
                                                                                                   6
              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      34,700.00
              If this is the last page of your form, add the dollar value totals from all pages.
              Write that number here:                                                                                     $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page ___   4
                                                                                                                                                                   2 of ___
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Debtor 1           Clifton D. Briggs
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                 Additional Page                                                                                          Column A               Column B              Column C
 Part 1:                                                                                                                  Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                                that supports this    portion
                                                                                                                          Do not deduct the
                 by 2.4, and so forth.                                                                                    value of collateral.   claim                 If any
2.6                                                                                                                        926,152.96          1,450,000.00 $____________
       U. S. Small Business Administration
       ______________________________________            Describe the property that secures the claim:                    $_________________ $________________
       Creditor’s Name

       P. O. Box 740192                                 Homestead w 2 lots and Lots A, B, C, D, E, F in
       ______________________________________
       Number            Street
                                                        Second Edition of Current River Beach Resort and
                                                        See Attachment 4
       ______________________________________            As of the date you file, the claim is: Check all that apply.
       Atlanta               GA
       ______________________________________                 Contingent
       City                   State ZIP Code                  Unliquidated
                                                              Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
          Debtor 1 only                                  X   An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
      
      X
           Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit
                                                              Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

      Date debt was incurred ____________                                                 6 ___
                                                         Last 4 digits of account number ___ 0 ___
                                                                                                0 ___
                                                                                                   9
2.7                                                      Describe the property that secures the claim:                    $_________________ $________________ $____________
       ______________________________________
       Creditor’s Name

       ______________________________________
       Number            Street

                                                         As of the date you file, the claim is: Check all that apply.
       ______________________________________
                                                              Contingent
       ______________________________________                 Unliquidated
       City                          State   ZIP Code
                                                              Disputed
      Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
          Debtor 1 only
                                                              An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
          Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit

          Check if this claim relates to a
                                                              Other (including a right to offset) ____________________
           community debt

      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

2.8                                                      Describe the property that secures the claim:                    $_________________ $________________ $____________
       ______________________________________
       Creditor’s Name

       ______________________________________
       Number            Street

       ______________________________________            As of the date you file, the claim is: Check all that apply.
       ______________________________________                 Contingent
       City                          State   ZIP Code         Unliquidated
                                                              Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
          Debtor 1 only                                      An agreement you made (such as mortgage or secured
          Debtor 2 only                                       car loan)
          Debtor 1 and Debtor 2 only                         Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another            Judgment lien from a lawsuit
                                                              Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      926,152.96
              If this is the last page of your form, add the dollar value totals from all pages.
              Write that number here:                                                                                      1,037,071.63
                                                                                                                          $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page ___   4
                                                                                                                                                                   3 of ___
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Debtor 1      Clifton D. Briggs
              _______________________________________________________                           Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                                                                                2.1
                                                                                           On which line in Part 1 did you enter the creditor? _____
      Albertelli Law
      _____________________________________________________________________
      Name                                                                                                                  N ___
                                                                                           Last 4 digits of account number ___ o ___
                                                                                                                                  n ___
                                                                                                                                     e
      1 Information Way, Suite 201
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      Little Rock                          AR             72202
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                                                                                2.2
                                                                                           On which line in Part 1 did you enter the creditor? _____
      Albertelli Law
      _____________________________________________________________________
      Name                                                                                                                  6 ___
                                                                                           Last 4 digits of account number ___ 0 ___
                                                                                                                                  0 ___
                                                                                                                                     9
      1 Information Way, Suite 201
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      Little Rock                          AR             72202
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                                                                                2.2
                                                                                           On which line in Part 1 did you enter the creditor? _____
       Capital Management Services, LP
      _____________________________________________________________________
      Name                                                                                                                  6 ___
                                                                                           Last 4 digits of account number ___ 0 ___
                                                                                                                                  0 ___
                                                                                                                                     9
       698 1/2 South Odgen Street
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

       Buffalo                              NY            14206-2317
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                                                                                2.4
                                                                                           On which line in Part 1 did you enter the creditor? _____
       Richard Rhodes, Esq.
      _____________________________________________________________________
      Name                                                                                                                  0 ___
                                                                                           Last 4 digits of account number ___ 2 ___
                                                                                                                                  9 ___
                                                                                                                                     9
       P. O. Box 971
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

       Osceola                              AR            72370
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___   4
                                                                                                                                                   4 of ___
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                                   Attachment
                    Debtor: Clifton D. Briggs             Case No:

Attachment 1
        75266-0807
        Edition of Current River Beach Resort - 1st mortgage Bank of America; 2nd mortgage
        SBA

Attachment 2
        75266-0807
        Edition of Current River Beach Resort - 1st mortgage Bank of America; 2nd mortgage
        SBA
Attachment 3
        Installment land contract
Attachment 4
        Lots 1-10 in First Edition of Current River Beach Resort - 1st mortgage with SBA
        with 2 loans at SBA
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 Fill in this information to identify your case:

 Debtor 1              Clifton D. Briggs
                      __________________________________________________________________
                       First Name                    Middle Name              Last Name

 Debtor 2               Regina A. Briggs
                       ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name              Last Name


                                         Eastern District of Arkansas
 United States Bankruptcy Court for the: ______________________________________
                                                                                                                                                      Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                            amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
         No. Go to Part 2.
        
        X
          Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim    Priority     Nonpriority
                                                                                                                                                     amount       amount
2.1
         See Attachment 1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___               0.00
                                                                                                                                  $_____________  0.00
                                                                                                                                                 $___________   0.00
                                                                                                                                                              $____________
         Priority Creditor’s Name

         P. O. Box 145566, STOP 813G CSC
         ____________________________________________                 When was the debt incurred?           ____________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.
         Cincinnati        OH              45250
         ____________________________________________                     Contingent
         City                                State      ZIP Code
                                                                          Unliquidated
         Who incurred the debt? Check one.
                                                                          Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only
                                                                          Domestic support obligations
               At least one of the debtors and another
                                                                      X
                                                                           Taxes and certain other debts you owe the government
               Check if this claim is for a community debt               Claims for death or personal injury while you were
         Is the claim subject to offset?                                   intoxicated
         X
                No                                                        Other. Specify _________________________________
               Yes
2.2      Randolph County Tax Collector
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                  887.90
                                                                                                                                     $_____________  887.90
                                                                                                                                                    $___________   0.00
                                                                                                                                                                 $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?           ____________
         107 West Broadway Street Suite H
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

          Pocahontas       AR              See
         ____________________________________________
                                                                          Contingent
         City                                State      ZIP Code          Unliquidated
         Who incurred the debt? Check one.                                Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                          Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                      X   Taxes and certain other debts you owe the government
                                                                          Claims for death or personal injury while you were
               Check if this claim is for a community debt                intoxicated
         Is the claim subject to offset?                                  Other. Specify _________________________________
         X     No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     8
                                                                                                                                                          page 1 of ___
Debtor 1
               3:18-bk-10448
                  Clifton D. BriggsDoc#: 12 Filed: 03/02/18 Entered: 03/02/18
                 _______________________________________________________
                                                                                    13:48:28 Page 24 of 59
                                                                         Case number (if known)_____________________________________
                     First Name      Middle Name          Last Name


  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X
        Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.1
       1st Choice Healthcare507.64
       _____________________________________________________________                                                8 ___
                                                                                   Last 4 digits of account number ___ 6 ___
                                                                                                                          0 ___
                                                                                                                             2
       Nonpriority Creditor’s Name                                                                                                                         0.00
                                                                                                                                                          $__________________
                                                                                  When was the debt incurred?           2016-2017
                                                                                                                        ____________
       P.O. Box 83
       _____________________________________________________________
       Number               Street

       Corning                  AR               72422
       _____________________________________________________________
       City                                              State        ZIP Code    As of the date you file, the claim is: Check all that apply.

                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated
              Debtor 1 only                                                         Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                         Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                               Student loans

              Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No                                                                 
                                                                                  X                  Medical Services
                                                                                      Other. Specify ______________________________________
              Yes

4.2
       Air Evac Lifeteam                                                                                           7 ___
                                                                                  Last 4 digits of account number ___ 1 ___
                                                                                                                         3 ___
                                                                                                                            A                               36,993.03
                                                                                                                                                          $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                When was the debt incurred?           8/2016
                                                                                                                        ____________
       P.O. Box 106
       _____________________________________________________________
       Number               Street
                                                                                  As of the date you file, the claim is: Check all that apply.
        West Plains           MO                  65775
       _____________________________________________________________
       City                                              State        ZIP Code
                                                                                     Contingent
       Who incurred the debt? Check one.                                             Unliquidated

              Debtor 1 only
                                                                                     Disputed

              Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                               Student loans
                                                                                     Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                            that you did not report as priority claims
       Is the claim subject to offset?                                               Debts to pension or profit-sharing plans, and other similar debts

          X   No                                                                 
                                                                                  X                  Medical Services
                                                                                      Other. Specify ______________________________________

              Yes

4.3
       Associated Radiologists LTD
       _____________________________________________________________                                               5 ___
                                                                                  Last 4 digits of account number ___ 8 ___
                                                                                                                         3 ___
                                                                                                                            4                               26.06
       Nonpriority Creditor’s Name                                                                                                                        $_________________
                                                                                  When was the debt incurred?           09/2017
                                                                                                                        ____________
       P.O. Box 56379
       _____________________________________________________________
       Number               Street

       Little Rock              AR               72215
       _____________________________________________________________              As of the date you file, the claim is: Check all that apply.
       City                                              State        ZIP Code

                                                                                     Contingent
       Who incurred the debt? Check one.
                                                                                     Unliquidated
              Debtor 1 only
                                                                                     Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                     Student loans
              Check if this claim is for a community debt                           Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
       Is the claim subject to offset?
                                                                                     Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No
                                                                                  
                                                                                  X                  Medical Services
                                                                                      Other. Specify ______________________________________
              Yes




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                   First Name       Middle Name           Last Name



 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.4                                                                                                                 4 ___
                                                                                   Last 4 digits of account number ___ 4 ___
                                                                                                                          1 ___
                                                                                                                             3
      Cardiology Associates
      _____________________________________________________________                                                                                          2,125.00
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           8/2016
                                                                                                                        ____________
      407 Virginia Drive
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Batesville               AR               72501
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Medical Services
                                                                                       Other. Specify________________________________
      
      X
             No
            Yes



4.5
      CenturyLink                                                                                                   o ___
                                                                                   Last 4 digits of account number ___ u ___
                                                                                                                          n ___
                                                                                                                             t                               2,585.86
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          12/2017
                                                                                                                        ____________
      P.O. box 4300
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Carol Stream                    IL        60197-4300
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  General Services
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                          265.34
                                                                                                                                                           $____________
      Clay County Regional Water Distribution                                                                       2 ___
                                                                                   Last 4 digits of account number ___ 7 ___
                                                                                                                          6 ___
                                                                                                                             0
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           1/2018
                                                                                                                        ____________
      P.O. box 10
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      McDougal                        AR        72441
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  General Services
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




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 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                     Total claim


4.7                                                                                                                 2 ___
                                                                                   Last 4 digits of account number ___ 7 ___
                                                                                                                          2 ___
                                                                                                                             8
      Direct TV
      _____________________________________________________________                                                                                          1,155.32
                                                                                                                                                           $____________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           12/2017
                                                                                                                        ____________
      P.O. box 105261
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Atlanta                  GA               30348-5261
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  General Services
                                                                                       Other. Specify________________________________
      
      X
             No
            Yes



4.8
      DRS Anatomic Pathology                                                                                        6 ___
                                                                                   Last 4 digits of account number ___ - ___
                                                                                                                          0 ___
                                                                                                                             3                               79.50
                                                                                                                                                           $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?          12/2016
                                                                                                                        ____________
      P.O. Box 1326
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Jonesboro                       AR        72403
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Medical Services
                                                                                       Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                          11,873.98
                                                                                                                                                           $____________
      Five Rivers Medical Center                                                                                    6 ___
                                                                                   Last 4 digits of account number ___ 1 ___
                                                                                                                          3 ___
                                                                                                                             6
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           10/2016
                                                                                                                        ____________
      2801 Medical Center Drive
      _____________________________________________________________
      Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
      Pocahontas                      AR        72455
      _____________________________________________________________
      City                                             State          ZIP Code        Contingent
                                                                                      Unliquidated
      Who incurred the debt? Check one.                                               Disputed
            Debtor 1 only
            Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                      Student loans
            At least one of the debtors and another
                                                                                      Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
            Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                              
                                                                                   X                  Medical Services
                                                                                       Other. Specify________________________________
      
      X      No
            Yes




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                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.10                                                                                                                 N ___
                                                                                    Last 4 digits of account number ___ o ___
                                                                                                                           n ___
                                                                                                                              e
       James Brown d/b/a Brown's Construction
       _____________________________________________________________                                                                                          43,000.00
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           2017
                                                                                                                         ____________
       P.O. Box 222
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Ravenden                 AR               72459
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                            
                                                                                    X   Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  General Services
                                                                                        Other. Specify________________________________
       
       X
              No
             Yes



4.11
       Promed Ambulance - Randolph County                                                                            9 ___
                                                                                    Last 4 digits of account number ___ 9 ___
                                                                                                                           0 ___
                                                                                                                              1                               148.53
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2016-2017
                                                                                                                         ____________
       P.O. Box 11330
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        El Dorado                       AR        71730
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                          12,102.00
                                                                                                                                                            $____________
       St. Bernards Healthcare                                                                                       8 ___
                                                                                    Last 4 digits of account number ___ 9 ___
                                                                                                                           7 ___
                                                                                                                              7
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           2017
                                                                                                                         ____________
       P. O. Box 1713
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Jonesboro                       AR        72403-1713
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes




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                                                                         Case number (if known)_____________________________________
                    First Name       Middle Name           Last Name



 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                      Total claim


4.13                                                                                                                 2 ___
                                                                                    Last 4 digits of account number ___ 0 ___
                                                                                                                           6 ___
                                                                                                                              0
       White River Emergency Group LLC
       _____________________________________________________________                                                                                          25,929.99
                                                                                                                                                            $____________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?           2016-2017
                                                                                                                         ____________
       P.O. Box 731584
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Dallas                   TX               75373-1584
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Medical Services
                                                                                        Other. Specify________________________________
       
       X
              No
             Yes



4.14
       Zoll                                                                                                          7 ___
                                                                                    Last 4 digits of account number ___ 2 ___
                                                                                                                           6 ___
                                                                                                                              5                               10,110.00
                                                                                                                                                            $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          2014
                                                                                                                         ____________
       P.O. Box 644321
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        Pittsburgh                      PA        15264-4321
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    X                  Medical Services
                                                                                        Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                        $____________
                                                                                    Last 4 digits of account number ___ ___ ___ ___
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                    When was the debt incurred?          ____________
       _____________________________________________________________
       Number            Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _____________________________________________________________
       City                                             State          ZIP Code        Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
             Debtor 1 only
             Debtor 2 only                                                         Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                       Student loans
             At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
             Check if this claim is for a community debt
                                                                                       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Other. Specify________________________________
             No
             Yes




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               First Name    Middle Name           Last Name



Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     RMC of America
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     P.O. box 21030                                                            4.9 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
                                                                                                       X



     _____________________________________________________
                                                                                                           6 ___
                                                                          Last 4 digits of account number ___ 1 ___
                                                                                                                 3 ___
                                                                                                                    6
     White Hall, AR 71612-1030
     _____________________________________________________
     City                                  State               ZIP Code


     Brown's Construction
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     6 Bear Bluff Trail
     _____________________________________________________
                                                                               4.10 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                       
                                                                                                       X
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims

     Ravenden, AR 72459
     _____________________________________________________                                                 N ___
                                                                          Last 4 digits of account number ___ o ___
                                                                                                                 n ___
                                                                                                                    e
     City                                  State               ZIP Code


     CACI
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     P.O. Box 1280                                                             4.13 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     _____________________________________________________
     Number         Street                                                                             
                                                                                                       X
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     Oaks, PA 19456-1280
     _____________________________________________________                                                 2 ___
                                                                          Last 4 digits of account number ___ 0 ___
                                                                                                                 6 ___
                                                                                                                    0
     City                                  State               ZIP Code

     WRMC Hospitalist
     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     P.O. Box 2197
     _____________________________________________________
                                                                               4.13 of (Check one):
                                                                          Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                             
                                                                                                       X
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     Batesville, AR 72503-2197
     _____________________________________________________                                                 2 ___
                                                                          Last 4 digits of account number ___ 0 ___
                                                                                                                 6 ___
                                                                                                                    0
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                          Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                          Claims

     _____________________________________________________                Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                        Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                Claims

     _____________________________________________________
     City                                  State               ZIP Code
                                                                          Last 4 digits of account number ___ ___ ___ ___


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               First Name    Middle Name         Last Name



Part 4:     Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                       Total claim


                6a. Domestic support obligations                               6a.      0.00
Total claims                                                                           $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                 6b.      887.90
                                                                                       $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                6c.      0.00
                                                                                       $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                    6d.
                                                                                     + $_________________________
                                                                                        0.00


                6e. Total. Add lines 6a through 6d.                            6e.
                                                                                        887.90
                                                                                       $_________________________



                                                                                       Total claim

                6f. Student loans                                              6f.
Total claims                                                                             0.00
                                                                                        $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                     6g.       0.00
                                                                                        $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                              6h.      0.00
                                                                                       $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                    6i.   + $_________________________
                                                                                        146,394.61


                6j. Total. Add lines 6f through 6i.                            6j.
                                                                                         146,394.61
                                                                                        $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                               page8__ of ___
                                                                                                                                                 8
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                                     Attachment
                      Debtor: Clifton D. Briggs            Case No:

Attachment 1
         Internal Revenue Service, Department of the Treasury

Attachment 2
         72455-3412
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 Fill in this information to identify your case:

 Debtor               Clifton D. Briggs
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              Regina A. Briggs
                       ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Eastern District of Arkansas
 United States Bankruptcy Court for the:______________________________________

 Case number           ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
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 Fill in this information to identify your case:

 Debtor 1          Clifton D. Briggs
                   __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             Regina A. Briggs
                      ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Eastern District of Arkansas
 United States Bankruptcy Court for the:_______________________________________

 Case number          ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X
           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                 page 1 of ___
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 Fill in this information to identify your case:


 Debtor 1            Clifton D. Briggs
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2             Regina A. Briggs
                     ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          Eastern District of Arkansas
 United States Bankruptcy Court for the: ___________________________________________

 Case number         ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status             Employed                                      Employed
     employers.                                                        
                                                                       X
                                                                         Not employed                                 
                                                                                                                      X
                                                                                                                       FillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            __________________________________           __________________________________


                                          Employer’s address       ________________________________________     ________________________________________
                                                                     Number Street                               Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________
                                                                     City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?         _______                                 _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________       +    $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     0.00
                                                                                              $__________                0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
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Debtor 1          Clifton D. Briggs
                  _______________________________________________________                                                   Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.       0.00
                                                                                                                            $___________              0.00
                                                                                                                                                    $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.     $____________            $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.     $____________            $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.     $____________            $_____________
      5d. Required repayments of retirement fund loans                                                             5d.     $____________            $_____________
      5e. Insurance                                                                                                5e.     $____________            $_____________
      5f. Domestic support obligations                                                                             5f.     $____________            $_____________

      5g. Union dues                                                                                               5g.     $____________            $_____________

      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________       +   $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                800.00                   0.00
                                                                                                                           $____________            $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                            0.00                     0.00
                                                                                                                           $____________            $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8e. Social Security                                                                                          8e.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                           $____________            $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________        + $_____________
  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       800.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                             800.00
                                                                                                                           $___________     +         0.00
                                                                                                                                                    $_____________       =     800.00
                                                                                                                                                                             $_____________

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.         800.00
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
           No.
      
      X     Yes. Explain:
                                 Both debtors are applying for Social Security Disability but both cases pending.


  Official Form 106I                                                               Schedule I: Your Income                                                                    page 2
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 Fill in this information to identify your case:

 Debtor 1          Clifton D. Briggs
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            Regina A. Briggs
                     ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                         Eastern District of Arkansas
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

        No. Go to line 2.
   
   X     Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  
                                            X    No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                        Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   65.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      0.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      0.00
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
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Debtor 1          Clifton D. Briggs
                 _______________________________________________________                  Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                       0.00
                                                                                                                     $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                    6a.      180.00
                                                                                                                     $_____________________
      6b.   Water, sewer, garbage collection                                                                  6b.      48.00
                                                                                                                     $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.      168.00
                                                                                                                     $_____________________
      6d.   Other. Specify: _______________________________________________                                   6d.      0.00
                                                                                                                     $_____________________

 7. Food and housekeeping supplies                                                                            7.       280.00
                                                                                                                     $_____________________

 8. Childcare and children’s education costs                                                                  8.       0.00
                                                                                                                     $_____________________
 9. Clothing, laundry, and dry cleaning                                                                       9.       20.00
                                                                                                                     $_____________________
10.   Personal care products and services                                                                     10.      0.00
                                                                                                                     $_____________________
11.   Medical and dental expenses                                                                             11.      0.00
                                                                                                                     $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                       50.00
                                                                                                                     $_____________________
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.      0.00
                                                                                                                     $_____________________
14.   Charitable contributions and religious donations                                                        14.      0.00
                                                                                                                     $_____________________
                                                                                                                                                   16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.     0.00
                                                                                                                     $_____________________
      15b. Health insurance                                                                                   15b.     0.00
                                                                                                                     $_____________________
      15c. Vehicle insurance                                                                                  15c.     50.00
                                                                                                                     $_____________________
      15d. Other insurance. Specify:_______________________________________                                   15d.     0.00
                                                                                                                     $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                       0.00
                                                                                                                     $_____________________
      Specify: ________________________________________________________                                       16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                         17a.     0.00
                                                                                                                     $_____________________

      17b. Car payments for Vehicle 2                                                                         17b.     0.00
                                                                                                                     $_____________________

      17c. Other. Specify:_______________________________________________                                     17c.   $_____________________

      17d. Other. Specify:_______________________________________________                                     17d.   $_____________________

18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.     0.00
                                                                                                                     $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                          19.    0.00
                                                                                                                     $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.    0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.    0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.    0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.    0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.    0.00
                                                                                                                     $_____________________



  Official Form 106J                                          Schedule J: Your Expenses                                                   page 2
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Debtor 1         Clifton D. Briggs
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.                    Personal property taxes
       Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                           20.00


22.    Calculate your monthly expenses.                                                                                   881.00
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               881.00
                                                                                                                         $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.




23. Calculate your monthly net income.
                                                                                                                           800.00
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           881.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                            -81.00
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X
          No.
         Yes.      Explain here:




  Official Form 106J                                         Schedule J: Your Expenses                                                        page 3
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 Fill in this information to identify your case:

 Debtor 1          Clifton                 D.                    Briggs
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2          Regina                A.                     Briggs
                   ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


                                         Eastern District of Arkansas
 United States Bankruptcy Court for the: ______________________________________

 Case number         ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................
                                                                                                                                                                            1,562,000.00
                                                                                                                                                                          $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................              11,943.00
                                                                                                                                                                          $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                            1,565,957.08
                                                                                                                                                                          $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                            1,037,071.63
                                                                                                                                                                          $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                            887.90
                                                                                                                                                                          $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +     146,394.61
                                                                                                                                                                          $ ________________


                                                                                                                                     Your total liabilities                 1,184,354.14
                                                                                                                                                                          $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                            800.00
                                                                                                                                                                          $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                      881.00
                                                                                                                                                                          $ ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1    Clifton                 D.                    Briggs
                 _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X
      Yes


7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

    
    X
      Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                               $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                     $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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Fill in this information to identify your case:

Debtor 1          Clifton D. Briggs
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            Regina A. Briggs
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


                                                Eastern District Of Arkansas
United States Bankruptcy Court for the: _______________________________________

Case number         ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X
         No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         /s/Clifton Briggs
          ______________________________________________                  /s/Regina Briggs
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


              03/02/2018
         Date _________________                                                 03/02/2018
                                                                           Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
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 Fill in this information to identify your case:

 Debtor 1           Clifton                 D.                    Briggs
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2             Regina                 A.                    Briggs
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                          Eastern District of Arkansas
 United States Bankruptcy Court for the: ____________________________________________

 Case number         ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


      
      X Married


       Not married

 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     X
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1       Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                     
                                                                                     X
                                                                                       Same as Debtor 1                                   
                                                                                                                                          X
                                                                                                                                              Same as Debtor 1

               7937 Hwy. 69
               __________________________________________       From      02/28/07
                                                                         ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To        10/31/17
                                                                         ________                                                             To    ________
               __________________________________________                               ___________________________________________

                Biggers                 AR     72413
               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                      Same as Debtor 1                                      Same as Debtor 1


               __________________________________________       From     ________        7937 Hwy. 69 North
                                                                                        ___________________________________________                02/28/07
                                                                                                                                              From ________
                Number    Street                                                        Number Street
                                                                To       ________                                                             To    _10/31/16
                                                                                                                                                      _______
               __________________________________________                               ___________________________________________

               __________________________________________                               Biggers                  AR      72413
                                                                                        ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                           Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 1
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Debtor 1        Clifton D. Briggs
                _______________________________________________________                                  Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income           Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.       (before deductions and
                                                                                         exclusions)                                          exclusions)


            From January 1 of current year until
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            1,600.00
                                                                                         $________________            bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                            
                                                            X
                                                                 Operating a business                                Operating a business


            For last calendar year:                             Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            7,200.00
                                                                                         $________________            bonuses, tips           $________________
                                       2017
            (January 1 to December 31, _________)           
                                                            X
                                                                 Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:
                                                                Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          0.00
                                                                                         $________________                                    $________________
                                       2016
            (January 1 to December 31, _________)               Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     X
           Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income          Gross income from
                                                            Describe below.              each source               Describe below.            each source
                                                                                         (before deductions and                               (before deductions and
                                                                                         exclusions)                                          exclusions)


                                                          none
                                                          __________________             0.00
                                                                                        $_________________ _____________________
            From January 1 of current year until                                                                                 $_________________
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       See Attachment 1
                                                          __________________             15,500.00
                                                                                        $_________________ _____________________ $_________________

                                       2017
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            See Attachment 2
                                                          __________________              93,648.00
                                                                                        $_________________ _____________________ $_________________
                                       2016
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 2
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Debtor 1        Clifton D. Briggs
               _______________________________________________________                             Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

     
     X     No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               X
                    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

         Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                      Dates of      Total amount paid        Amount you still owe       Was this payment for…
                                                                      payment


                      ____________________________________
                      Creditor’s Name
                                                                     _________      $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________           _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code                                                                       Other ____________


                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________           _________      $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                     _________                                                           Credit card
                                                                                                                                         Loan repayment
                      ____________________________________           _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ____________



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Debtor 1           Clifton D. Briggs
                   _______________________________________________________                            Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X
           No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X
           No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




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Debtor 1        Clifton D. Briggs
                _______________________________________________________                                        Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     X
           Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case

                                                                  Non-judicial foreclosure
                                                                                                        See Attachment 3
                                                                                                        ________________________________________
                        Bank of America
            Case title_____________________________                                                     Court Name
                                                                                                                                                        
                                                                                                                                                        X
                                                                                                                                                            Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

                        Non-judicial
            Case number ________________________                                                        Pocahontas         AR     72455
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code

                                                                  Non-Judicial Foreclosure
                                                                                                        See Attachment 4
                                                                                                        ________________________________________
                      Bank of America
            Case title_____________________________                                                     Court Name
                                                                                                                                                        
                                                                                                                                                        X
                                                                                                                                                            Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

                        Non-judicial
            Case number ________________________                                                        Pocahontas         AR     72455
                                                                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

          No. Go to line 11.
     X
           Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property

                                                                             2004 Dodge Ram Truck
                 City Motors
                 _________________________________________                                                                              2/7/2018
                                                                                                                                        __________      1,250.00
                                                                                                                                                       $______________
                 Creditor’s Name


                 2021 Hwy. 67 South
                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 Pocahontas             AR     72455
                 _________________________________________
                 City                               State   ZIP Code          
                                                                              X
                                                                                   Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



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Debtor 1          Clifton D. Briggs
                  _______________________________________________________                                Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X
           No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X
           No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6
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Debtor 1           Clifton D. Briggs
                   _______________________________________________________                                     Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X
           No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you             Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________            $_____________
           Charity’s Name


           _____________________________________                                                                                        _________            $_____________
           Number Street


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

          No
     
     X
           Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss    Value of property
            the loss occurred                                                                                                                                lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.

           Current River Beach Resort; Flood of river
           damaged all structures                                                                                                       ????/2016
                                                                                                                                        _________              15,000,000.00
                                                                                                                                                              $_____________

                                                                                                                                                            See Attachment 5

 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X
           Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or      Amount of payment
            Jeannette A. Robertson                                                                                                      transfer was made
            ___________________________________
            Person Who Was Paid

            408 W. Jefferson Ave., Suite A
            ___________________________________
            Number       Street                                                                                                         12/05/17
                                                                                                                                        _________             4,550.00
                                                                                                                                                             $_____________

            ___________________________________
                                                                                                                                        _________            $_____________
            Jonesboro           AZ     72401
            ___________________________________
            City                       State    ZIP Code


            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 7
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Debtor 1           Clifton D. Briggs
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
          No
     
     X
           Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            See Attachment 6
            ___________________________________
            Person Who Received Transfer                          In excess of $200,000.00 over last        repair work
                                                                  two years
            P.O. Box 222
            ___________________________________                                                                                                               See 6
                                                                                                                                                              _________
            Number       Street

            ___________________________________

            Ravenden            AZ     72459
            ___________________________________
            City                        State    ZIP Code


                                         See 6
            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8
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Debtor 1           Clifton D. Briggs
                   _______________________________________________________                                   Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X
           No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
          No
     X
           Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            Integrity Frist Bank of Pocahontas
            ____________________________________
            Name of Financial Institution
                                                                             1 ___
                                                                       XXXX–___ 4 ___
                                                                                   6 ___
                                                                                      6                 
                                                                                                         X
                                                                                                          Checking               1/2018
                                                                                                                                 _________               185.00
                                                                                                                                                        $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            Pocahontas          AR      72455
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            Integrity First Bank of Pocahontas
            ____________________________________                            1 ___
                                                                       XXXX–___ 4 ___
                                                                                  6 ___
                                                                                      6                 
                                                                                                         X
                                                                                                          Checking               1/2018
                                                                                                                                 _________               185.00
                                                                                                                                                        $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            Pocahontas          AR      72455
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     X
           No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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Debtor 1              Clifton D. Briggs
                      _______________________________________________________                                              Case number (if known)_____________________________________
                      First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    X
             No
            Yes. Fill in the details.
                                                                       Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                            have it?


               ___________________________________                     _______________________________________                                                                No
               Name of Storage Facility                                Name                                                                                                   Yes
               ___________________________________                     _______________________________________                                                               
               Number       Street                                     Number    Street

               ___________________________________                     _______________________________________
                                                                       City State ZIP Code
               ___________________________________
               City                        State     ZIP Code



 Part 9:                Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        No
        X
             Yes. Fill in the details.
                                                                      Where is the property?                                    Describe the property                    Value

                Estate of Roger Ruddock
               ___________________________________
               Owner’s Name                                                                                                                                               See 7
                                                                                                                                                                         $__________
                                                                     _________________________________________
               ___________________________________                   Number     Street
               Number        Street
                                                                     _________________________________________
               ___________________________________
                                                                     Ravenden               AR      72460
                                                                     _________________________________________
                Ravenden            AR    72460
               ___________________________________                   City                             State     ZIP Code
               City                        State     ZIP Code


 Part 10:               Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        X
             No
            Yes. Fill in the details.
                                                                       Governmental unit                            Environmental law, if you know it                   Date of notice



              ____________________________________                    _______________________________                                                                    _________
              Name of site                                            Governmental unit

              ____________________________________                    _______________________________
              Number       Street                                     Number    Street

                                                                      _______________________________
              ____________________________________                    City                   State   ZIP Code


              ____________________________________
              City                        State     ZIP Code



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Debtor 1           Clifton D. Briggs
                   _______________________________________________________                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     X
           No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                         _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X
           No
          Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title______________________________
                                                                    ________________________________                                                                      Pending
                                                                    Court Name

           ______________________________________
                                                                                                                                                                          On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                    Concluded

           ______________________________________
                                                                    ________________________________
           Case number
                                                                    City                        State   ZIP Code
                                                                                                                                                                         

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     X
           No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code


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Debtor 1           Clifton D. Briggs
                   _______________________________________________________                                    Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X
           No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




            /s/Clifton Briggs
            ______________________________________________                        _____________________________
                                                                                     /s/Regina Briggs
            Signature of Debtor 1                                                    Signature of Debtor 2


                  2 March 2018
            Date ________________                                                          2 March 2018
                                                                                     Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




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                                   Attachment
                     Debtor: Clifton D. Briggs                  Case No:
    Attachment 1
         Roger Ruddock - Employer for home helper
    Attachment 2
         Roger Ruddock - Employer for home helper & Odd jobs
    Attachment 3
         Circuit Court of Randolph County, Arkansas

    Attachment 4
         Circuit Court of Randolph County, Arkansas
Attachment 5 Additional Losses:
     Description of Property Lost: Current River Beach Resort
     Description of How the Loss Occurred: Flood or all structures on resort property
     Insurance Circumstances:
     Date of Loss: ????/2016
     Value of Gift: $1,500,000.00

    Attachment 6
         James Brown d/b/a Browns Construction
    Attachment 6
         3rd party contractor
    Attachment 6
         2016 and 2017
Attachment 7
     unknown as estate holds title and no probate estate open
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Fill in this information to identify your case:

Debtor 1           Clifton D. Briggs
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2             Regina A. Briggs
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                                Eastern District Of Arkansas
United States Bankruptcy Court for the: _______________________________________

Case number         ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.
                                                                                      X                                                  
                                                                                                                                         X No
          name:      James Brown
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt: 8549 Valley Chapel Road, Ravenden Springs,                        Reaffirmation Agreement.
                         Arkansas 72460                                                Retain the property and [explain]: __________
                                                                                           ______________________________________

   
          Creditor’s                                                                   Surrender the property.
                                                                                       X                                                 
                                                                                                                                         X
                                                                                                                                           No
          name:      U. S. Small Business Administration
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt: Homestead w 2 lots and Lots A, B, C, D, E, F in                   Reaffirmation Agreement.
                         Second Edition of Current River Beach Resort                  Retain the property and [explain]: __________
                         See Attachment 1                                                  ______________________________________
   
          Creditor’s                                                                   Surrender the property.
                                                                                      X                                                  
                                                                                                                                         X
                                                                                                                                           No
          name:      U. S. Small Business Administration
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt: Ravenden Springs lots 16, 17, 18 and Lots 1                       Reaffirmation Agreement.
                         and portions of Lots 2 & 3, with 36 x 24 utility              Retain the property and [explain]: __________
                         building - 1st Mortgage with SBA                                  ______________________________________

          Creditor’s                                                                   Surrender the property.
                                                                                      X                                                  
                                                                                                                                         X
                                                                                                                                           No
          name:      Bank of Armerica
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
                         Homestead with 2 lots and Lots G, H, I, J in                      Reaffirmation Agreement.
          securing debt: Second Edition of Current River Beach Resort -
                         See Attachment 2                                              Retain the property and [explain]: __________
                                                                                           ______________________________________

  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7 See Attachment 3                  page 1
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Your name       Clifton D. Briggs
               ______________________________________________________                           Case number (If known)_____________________________________
               First Name           Middle Name      Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                   Will the lease be assumed?

     Lessor’s name:                                                                                                     No
                             City of Ravenden
                                                                                                                        
                                                                                                                        X
                                                                                                                          Yes
     Description of leased
     property:
               33 Ash Street, Ravenden Springs, Arkansas

     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
     Description of leased                                                                                               Yes
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



      /s/Clifton Briggs
      ___________________________________________                   /s/Regina Briggs
                                                                    ___________________________________________
     Signature of Debtor 1                                           Signature of Debtor 2

          03/02/2018
     Date _________________                                               03/02/2018
                                                                     Date _________________
            MM /    DD   /   YYYY                                         MM /   DD /   YYYY




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                                     Attachment
                      Debtor: Clifton D. Briggs              Case No:

Attachment 1
         and Lots 1-10 in First Edition of Current River Beach Resort - 1st mortgage with SBA
         with 2 loans at SBA

Attachment 2
         1st mortgage Bank of America; 2nd mortgage SBA
Attachment 3: Additional Secured Claims
     Creditor's name: Bank of America
     Description of property securing debt: Homestead with 2 lots and Lots G, H, I, J in Second
     Edition of Current River Beach Resort - 1st mortgage Bank of America; 2nd mortgage
     SBA
     Property will be: Surrendered

    Creditor's name: City Motors
    Description of property securing debt: 2004 Dodge Truck with 80,000 miles.
    Property will be: Surrendered
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B2030 (Form 2030) (12/15)




                                       United States Bankruptcy Court
                                                  EASTERN DISTRICT OF ARKANSAS



In re
          Clifton D. Briggs and Regina A. Briggs
                                                                                                Case No. ___________________

Debtor                                                                                                  7
                                                                                                Chapter ____________________

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above
     named debtor(s) and that compensation paid to me within one year before the filing of the petition in
     bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in
     contemplation of or in connection with the bankruptcy case is as follows:

                                                                                                              4,450.00
     For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                            4,450.00
     Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . $______________

                                                                                                                               0.00
     Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

2.   The source of the compensation paid to me was:

            X Debtor                                 Other (specify)

3.   The source of compensation to be paid to me is:

            X Debtor                                 Other (specify)

4.         X I have not agreed to share the above-disclosed compensation with any other person unless they are
           members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who are not
           members or associates of my law firm. A copy of the agreement, together with a list of the names of the
           people sharing in the compensation, is attached.

5.   In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy
     case, including:

     a.    Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to
           file a petition in bankruptcy;

     b.    Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

     c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
           hearings thereof;
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B2030 (Form 2030) (12/15)

     d.   -------------------------------------------------------------------------------------------------------------------
          Representation     of the debtor in adversary proceedings and other contested bankruptcy matters;

     e.   [Other provisions as needed]

          Debtors have executed an employment contract and will pay fees and costs beyond the retinaer
          as they accure.




6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
      The employment contract specifically exclude adversary proceedings and appeals unless a
      separate employment contract is signed by the debtors.




                                                          CERTIFICATION

              I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
           me for representation of the debtor(s) in this bankruptcy proceeding.

           March 2, 2018
           ______________________                  /s/ Jeannette A. Robertson
           Date                                          Signature of Attorney

                                                   Robertson Law Firm
                                                        Name of law firm
